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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,         )       No. CR-F-93-5147 REC
                                       )
10                                     )       ORDER DENYING MOTION FOR
                                       )       RELIEF PURSUANT TO RULE
11                   Plaintiff,        )       60(b), FEDERAL RULES OF
                                       )       CIVIL PROCEDURE
12             vs.                     )
                                       )
13                                     )
     WILLIAM HENRY LEE,                )
14                                     )
                                       )
15                   Defendant.        )
                                       )
16                                     )

17        On January 20, 2006, William Henry Lee, proceeding in pro

18   per, filed a motion pursuant to Rule 60(b), Federal Rules of

19   Civil Procedure, contending that his sentence was enhanced an

20   additional 172 months in violation of United States v. Booker,

21   543 U.S. 220 (2005).    Lee argues that he is entitled to

22   resentencing pursuant to United States v. Ameline, 409 F.3d 1073

23   (9th Cir. 2005).

24        The court hereby denies Lee’s motion.

25        First of all, Rule 60(b) does not apply to obtain relief

26   from a final judgment in a criminal action.        See United States v.

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1    Mosavi, 138 F.3d 1365 (11th Cir. 1998); 12 Moore’s Federal

2    Practice, § 60.02 (Matthew Bender 3rd ed.).

3         The court notes that Lee previously filed a motion to

4    vacate, set aside or correct sentence pursuant to 28 U.S.C. §

5    2255.   The Section 2255 motion was filed on August 23, 2000 in

6    No. CV-F-00-6238 REC.    In the Section 2255 motion, Lee contended

7    that this court erred by not calculating his sentence pursuant to

8    Application Note 12 to the Commentary to § 2D1.1 of the

9    Sentencing Guidelines, effective November 1, 1995.         By Order

10   filed on December 4, 2000, the court dismissed the Section 2255

11   motion as barred by the one year statute of limitations and

12   because Lee failed to set forth grounds his entitlement to

13   equitable tolling.    Judgment for respondent was entered on

14   December 5, 2000.    Lee did not appeal the denial of the Section

15   2255 motion.   Although the court could construe the instant

16   motion as a motion for relief from the judgment entered in

17   connection with the denial of the Section 2255 motion, the court

18   will not do so here.    Because Lee raises new claims in his Rule

19   60(b) motion, the court construes the motion as a second or

20   successive Section 2255 motion.         Thompson v. Calderon, 151 F.3d

21   918 (9th Cir.), cert. denied, 524 U.S. 965 (1998)        Therefore, in

22   order to proceed with these claims, Lee first must move in the

23   Ninth Circuit Court of Appeals for an order authorizing the

24   district court to consider the application.        28 U.S.C. §§

25   2244(b)(3)(A) and 2255.

26        Furthermore, even if the court allowed Lee to move for

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1    relief from the judgment regarding the denial of the Section 2255

2    motion pursuant to Rule 60(b), Lee would not be entitled to

3    relief.   This is because Booker is not retroactively applicable

4    to cases on collateral review.      United States v. Cruz, 423 F.3d

5    1119 (9th Cir. 2005), cert. denied, 2006 WL 152073 (2006).

6         Finally, Lee’s contention that he is entitled to relief

7    because of his claim of actual innocence is without merit.          The

8    actual innocence exception allows a federal prisoner to proceed

9    under 28 U.S.C. § 2241 rather than Section 2255.         Lee’s argument

10   is one of legal innocence, not factual innocence, based on his

11   erroneous premise that Booker applies retroactively to cases on

12   collateral review.    As noted, Booker does not so apply.

13        ACCORDINGLY:

14        1.   William Henry Lee’s motion for relief pursuant to Rule

15   60(b), Federal Rules of Civil Procedure is denied.

16        IT IS SO ORDERED.

17   Dated:    January 24, 2006                    /s/ Robert E. Coyle
     668554                                    UNITED STATES DISTRICT JUDGE
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